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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY




PEARSON EDUCATION, INC.,                         Civil Action No.: 21-16866

                       Plaintiff,

                  v.

CHEGG, INC.,                                                ORDER OF THE
                                                    SPECIAL DISCOVERY MASTER RE:
                       Defendant.                      NUMBER OF CUSTODIANS




LINARES, J.

        This matter having come before the Special Master by way of the Joint Submission

Outlining Logistics and Priority of Outstanding Discovery Disputes submitted by Plaintiff

Pearson Education, Inc. (“Pearson”) and Chegg, Inc. (“Chegg”), section III.A with respect to the

number of custodians (ECF 106 at 9-12, 26-28); and the Special Master having reviewed the

parties’ submissions, including the Joint Submission on the Status of the Parties’ Negotiations

Regarding Search Terms and Custodians and the parties’ respective submissions dated March 16,

2023; and the Special Master having held a status conference on March 9, 2023 and a hearing on

April 4, 2023 with respect to outstanding discovery disputes; and counsel for the parties

appearing; and for the reasons set forth on the record during the aforementioned hearing;

        IT IS on this 12th day of May, 2023,

        ORDERED that Pearson shall be permitted to request documents from an additional 10

custodians of Chegg; and it is further


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        ORDERED that Chegg shall be permitted to request documents from an additional 5

custodians of Pearson; and it is further

        ORDERED that either party may move for relief before the Special Master in the event

that the collection, review and production of documents from these additional custodians creates

a burden (supported by detailed facts and evidence, including time, effort and cost of such

production) that is disproportionate to the needs of the case; and it is further

        ORDERED that either party may move before the Special Master for additional

custodians on good cause shown.

        SO ORDERED.

                                               __/s/ Jose L. Linares_______________________

                                               Hon. Jose L. Linares, U.S.D.J. (Ret.)




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